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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

                                [ELECTRONICALLY FILED]

  NASHAYLA JONES, et al.                                  )
                                                          ) CIVIL ACTION NO.:
  v.                                                      ) 3:18-cv-265-RGJ-CHL
                                                          )
  LOUISVILLE /JEFFERSON COUNTY                            )
  METRO GOVERNMENT, et al.                                )

                                 *****
              NOTICE OF ISSUANCE OF SUBPOENA DUCES TECUM ON
                 U.S. DRUG ENFORCEMENT ADMINISTRATION

         Come the Plaintiffs, by counsel, and, pursuant to Federal Rule of Civil Procedure

  45(a)(2)-(4), hereby serve notice of the issuance of the attached subpoena duces tecum on

  the United States Drug Enforcement Administration Louisville Office – Special Agent in

  Charge, J. Todd Scott.



         Date: March 26, 2021                      Respectfully submitted,



                                                   /s/ Christopher J. Hoerter
                                                   Christopher J. Hoerter
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                                                   Counsel for Plaintiffs

                             CERTIFICATE OF SERVICE

         This hereby certifies that the foregoing Notice of Issuance of Subpoena Duces

  Tecum with attachments, said Subpoena, Schedule A, Supplement to Schedule A, and

  Schedule B, were electronically filed through CM/ECF and served on all parties of

  record, on March 26, 2021.

                                                   /s/ Christopher J. Hoerter
